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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                       )    Chapter 11
In re:                                                 )
                                                       )    Case No. 23-11131 (TMH)
                                                       )
AMYRIS, INC. et al,                                    )    (Jointly Administered)
                                                       )
                             Debtors.1                 )    Hearing: September 14, 2023 at 2:00pm (ET)
                                                       )
                                                       )    Re: Docket No. 19


PRELIMINARY STATEMENT OF AD HOC CROSS-HOLDER GROUP TO DEBTORS’
   MOTION FOR INTERIM AND FINAL ORDERS (I) AUTHORIZING DEBTORS
    (A) TO OBTAIN POSTPETITION FINANCING AND (B) TO UTILIZE CASH
  COLLATERAL, (II) GRANTING ADEQUATE PROTECTION TO PREPETITION
         SECURED PARTIES, (III) MODIFYING THE AUTOMATIC STAY,
 (IV) SCHEDULING A FINAL HEARING, AND (V) GRANTING RELATED RELIEF

           The Ad Hoc Cross-Holders Group of Amyris, Inc. (“Amyris”) and its Debtor Affiliates

(the “Ad Hoc Cross-Holder Group”), by and through its undersigned counsel, hereby submits this

Preliminary Statement (the “Statement”) to the Motion of the Debtors for Interim and Final Orders

(i) Authorizing Debtors to (a) Obtain Postpetition Financing and (b) to Utilize Cash Collateral,

(ii) Granting Adequate Protection to Prepetition Secured Parties, (iii) Modifying the Automatic

Stay, (iv) Scheduling a Final Hearing, and (v) Granting Related Relief [Docket No. 19] (the “DIP

Motion”)2 and respectfully states as follows:

                                      PRELIMINARY STATEMENT

           1.       The Ad Hoc Cross-Holder Group recently formed and comprises certain holders of

(i) 1.50% Convertible Senior Notes due 2026 issued by Debtor Amyris, Inc. and (ii) equity in


1
 A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
proposed claims and noticing agent at https://cases.stretto.com/amyris. The location of Debtor Amyris, Inc.’s principal
place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite 100,
Emeryville, CA 94608.
2
    Capitalized terms used but not defined herein shall have the meanings ascribed to them in the DIP Motion.


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Amyris.3 The Ad Hoc Cross-Holder Group believes in the Debtors’ technology, capabilities and

opportunities and supports their efforts to emerge a healthy viable entity and leader in synthetic

biology. The present and future value of the Debtors needs to be preserved for the stakeholders

and not just simply an insider. The Ad Hoc Cross-Holder Group is prepared to consider and

support restructuring transactions that provide proper and supportable distributions under the

Bankruptcy Code and equal access to new investment opportunities that are, and will likely be,

contemplated as an alternative to delivering the Debtors to an insider. In fact, a reorganization

through a confirmed plan may be the best alternative to all stakeholders.

        2.       The Ad Hoc Cross-Holder Group does not challenge the Debtors’ need to obtain

post-petition financing, nor does it object to the economic terms of the proposed DIP Financing.

However, the Ad Hoc Group is concerned about a process that appears to be designed to strip

present and future value and allow that value to be usurped by an insider. Among other things, the

Ad Hoc Committee has concerns about an insider DIP Lender, the circumstances that precipitated

these chapter 11 cases, the alleged “independence” on the Debtors’ board, and the insiders’ control

over these cases potentially at the expense of other stakeholders. The Ad Hoc Cross-Holder Group

understands its rights (and the rights of the Official Committee of Unsecured Creditors and the Ad

Hoc Noteholder Group) to challenge the validity of the prepetition insider debt (and pre-petition

transactions and dealings) under the proposed Final DIP Order are fully preserved.

        3.       Immediately upon its formation, the Ad Hoc Cross-Holder Group reached out to

the Debtors, the Committee and the Ad Hoc Noteholder Group to communicate its desire to

effectively and efficiently participate in these cases and get up to speed in connection with the DIP,

the proposed sale process for the consumer businesses, access to information and the gameplan for


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 The Ad Hoc Cross-Holder Group is preparing and intends to file its statement pursuant to Federal Rule of Bankruptcy
Procedure 2019.

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these cases. The professionals of the Ad Hoc Cross-Holder Group’s requested the Debtors to

provide a non-disclosure agreement (executed by the other parties’ professionals) so they could

begin obtaining information. The Debtors have not provided the non-disclosure agreement or other

information and have resisted engaging with the Ad Hoc Cross-Holder Group. If the other

stakeholders’ professionals are readily receiving information, there is no additional cost or other

basis for denying the Ad Hoc Cross-Holder Group’s professionals access to the same information

already available in reviewable form. The Ad Hoc Cross-Holder Group has not asked for anything

more or different. The Ad Hoc Cross-Holder Group appreciates the Committee’s and the Ad Hoc

Noteholder Group’s efforts to engage and will continue to coordinate with them when possible to

remain efficient and avoid duplication.

       4.      The Ad Hoc Cross-Holder Group is committed to maximizing present and future

value and developing fair and balanced solutions in this complex situation. The Group recognizes

that as a substantial stakeholder, it will play an important role in these proceedings.

                                RESERVATION OF RIGHTS

       5.      The Ad Hoc Cross-Holder Group reserves all rights to supplement and/or amend

this Statement prior to or at any hearing thereon, or in the event that any further changes to the

Final DIP Order are proposed; or to further address the DIP Motion, any ancillary issues and the

bankruptcy process with respect to these chapter 11 cases.




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